                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                  NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,            )
                                     )
           Plaintiff,                )
                                     ) No. ________________
      v.                             )
                                     )
OAKLEY PHARMACY, INC., d/b/a         )
DALE HOLLOW PHARMACY; XPRESS         )
PHARMACY OF CLAY COUNTY, LLC;        ) UNDER SEAL
THOMAS WEIR; MICHAEL GRIFFITH;       )
JOHN POLSTON, and LARRY LARKIN,      )
                                     )
           Defendants.               )
                       DECLARATION OF CARL GAINOR

        I, Carl Gainor, declare under penalty of perjury that the following statements are true and correct:

                                Professional and Academic Experience

        1.      I am currently an assistant professor of pharmacy at the University of Pittsburgh and have

been since 1977. I am also an adjunct professor of pharmacy at two other universities: Notre Dame of

Maryland University, in Baltimore, Maryland, and Belmont University in Nashville, Tennessee.

        2.      I am currently licensed to practice pharmacy in Pennsylvania and North Carolina.

        3.      I completed pre-pharmacy studies at the University of Michigan in 1963. I received my

bachelor of science degree in 1966, followed by a master’s degree in 1968, and a doctorate in 1972, all

from the University of Pittsburgh in the study of pharmacy. I also received a law degree from the

University of Pittsburgh in 1975.

        4.      I did a post-graduate hospital residency at the Veterans’ Administration hospital system

in Pittsburgh, Pennsylvania in 1967. I then practiced pharmacy as a staff pharmacist at the Montefiore

Hospital in Pittsburgh, Pennsylvania from 1970 until 1976.




    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 1 of 18 PageID #: 108
        5.      I have also practiced pharmacy as a retail pharmacist with the Thrift Drug Company in

Pittsburgh, Pennsylvania, and the Kerr Drug Company in North Carolina. In addition, I worked as a part-

time retail pharmacist at two independent community pharmacies in Pittsburgh, Pennsylvania.

        6.      As an attorney, I served as legal counsel to the Pennsylvania Pharmacists Association for

approximately 25 years.

        7.      In my capacity as a professor of pharmacy at five schools of pharmacy over the years, I

have taught thousands of students in matters of pharmacy, with an emphasis on the laws and regulations

of practicing pharmacy.

        8.      In this capacity, I teach students the practical considerations of complying with the

federal statutes and regulations pertaining to the practice of pharmacy. Chief among those statutes is the

Controlled Substance Act, 21 U.S.C. § 801 et seq. (“CSA”), and the regulations promulgated under the

CSA, particularly 21 C.F.R. Part 1300. These matters are central to the practice of pharmacy when

dispensing controlled substances. I am also familiar with and teach the rules and regulations of the

practice of pharmacy in Tennessee.

        9.      Based on my training and experience, I am specifically familiar with 21 C.F.R. §

1306.04(a), the federal regulation governing the issuance of controlled substance prescriptions, and 21

C.F.R. § 1306.06, the federal regulation that provides that a “prescription for a controlled substance may

only be filled by a pharmacist, acting in the usual course of his professional practice and either registered

individually or employed in a [DEA] registered pharmacy.”

                                            Materials Reviewed

        10.     I have been asked by attorneys from the Department of Justice to review materials

provided by them with respect to two pharmacies in Celina, Tennessee: Oakley Pharmacy, Inc. which

does business under the name Dale Hollow Pharmacy (“Dale Hollow”), and Clay County Xpress

Pharmacy, LLC (“Xpress”).

        11.     I have been provided with materials that I understand DEA diversion investigators

acquired during an administrative inspection of Dale Hollow and Xpress as well as DEA subpoenas

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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 2 of 18 PageID #: 109
concerning these pharmacies and their patients. These materials include copies of prescriptions filled by

these pharmacies, the pharmacies’ dispensing logs when available, information that the pharmacies kept

in their patient profiles, and Tennessee Controlled Substance Monitoring Program Board of Pharmacy

Patient RX History Reports (“CSMD Reports”). For each of the patients described in detail below, the

materials I reviewed and relied upon are sometimes referred to as “the record.”

        12.     The CSMD reports are compiled by an information system into which pharmacists in

Tennessee are required to enter data regarding the controlled substance prescriptions they dispense to

patients. This information system allows Tennessee pharmacists to review a patient’s controlled

substance prescription history before dispensing controlled substances. These CSMD Reports, together

with the pharmacy’s own dispensing logs and patient profiles, and the pharmacist’s training and

experience help a pharmacist determine whether a controlled substance they have been asked to dispense

is for a legitimate medical purpose and from an individual practitioner (prescriber) acting in the usual

course of his professional practice. For example, the pharmacists can determine which doctors have

prescribed controlled substances for the patient, which pharmacies have dispensed them, the quantities

and dosages that have been prescribed and dispensed, and when.

        13.     Armed with this information, the pharmacist can detect many red flags of diversion. For

example, a pharmacist can recognize potential doctor and pharmacy shopping, combination prescriptions

that might indicate abuse, dosing above the usual and customary doses, and other indication of abuse or

diversion. Accordingly, the act of merely querying the CSMD report for a patient alone is insufficient.

The pharmacist must evaluate the information provided in the report and apply this information to the

other circumstances available to determine whether red flags of diversion are present.

                               Practice Standards for Retail Pharmacists

        14.     There are certain required steps that a Tennessee pharmacist must perform on a regular

basis when filling any controlled substance prescription to ensure that the prescription is written pursuant

to an appropriate physician-patient relationship, is clinically appropriate and safe to dispense. Some of

the things the pharmacist should review are the patient’s age, gender, current or known medical

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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 3 of 18 PageID #: 110
conditions, drug allergies, the physician’s address and specialty or area of practice, and the condition

being treated to the extent that a diagnosis is provided. A pharmacist must evaluate the prescription for

appropriateness of therapy and identify any therapeutic duplication, for instance, when more than one

drug has been prescribed to treat the same condition. A prescription must also be reviewed to determine

whether it satisfies all the requirements of a prescription. For instance, the prescription must contain the

patient’s name and address, and the physician’s name and address. It should indicate the name of the

drug prescribed, the strength, dosage form, quantity prescribed, and directions for use. When the

prescription is for a controlled substance, it must also contain the prescriber’s DEA registration number.

For controlled substances, there are additional steps a pharmacist should perform to verify the legitimacy

of the prescription and to prevent potential abuse and/or diversion. The pharmacist should also review the

quantity of the medication prescribed; appropriate dosage; the distance of the patient’s home from the

physician and/or the pharmacy; trends in the physician’s prescribing habits for the patient; and the

number of prescribers and pharmacies the patient has used for similar medications. Schedule II controlled

substances require even more scrutiny to ensure legitimacy due to the high risk of abuse and diversion.

Oxycodone, morphine, hydrocodone, and other opioids are known to be commonly diverted and abused

drugs in Tennessee and other states. With the rise in abuse, diversion, and drug related overdoes, such

verification steps are more important than ever.

        15.     I am familiar with the federal requirement that a pharmacist has a “corresponding

responsibility” to ensure the proper prescribing and dispensing of controlled substances (21 C.F.R. §

1306.04(a)). This is an independent responsibility of the pharmacist to ensure that prescriptions for

controlled substances are legitimate. In other words, just because a licensed physician prescribed a

controlled substance, does not mean that a pharmacist is obligated to fill that prescription. A reasonably

prudent pharmacist in Tennessee must be familiar with suspicious activity or “red flags” indicating that

the controlled substances prescribed are at risk for abuse or diversion. As a pharmacist and a professor of

pharmacy, I teach pharmacy students how to detect “red flags,” as well as trends in pharmacy diversion



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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 4 of 18 PageID #: 111
and processes to resolve and limit any concerns that a pharmacist should have when presented with

questionable prescriptions.

        16.      Based on my experience and available public information, opioid diversion in Tennessee

and throughout the United States has increased significantly. In recent years, physicians have played a

larger role in the diversion of controlled substances, either intentionally, or by failing to ensure that the

prescriptions they issue are for legitimate medical purposes and issued in the usual course of professional

practice.

        17.      As a pharmacist and a professor of pharmacy, I have been trained to recognize various

red flags for abuse and/or diversion in prescriptions for controlled substances, and I teach students to do

so. All competent pharmacists can and should be able to recognize “red flags” related to prescriptions for

controlled substances, and they are required to do so in the usual course of pharmacy practice in

Tennessee and throughout the United States.

        18.      Generally, a “red flag” is anything about a controlled substance prescription that would

cause the pharmacist to be concerned that the prescription was not issued for a legitimate medical purpose

by a registered prescriber in the usual course of professional practice. Some of the red flags for diversion

that all pharmacists should be familiar with include the following:

        a.       The patient’s address is a significant distance from the prescriber’s address and/or the

        pharmacy’s address.

        b.       The prescriptions are for high dosage strengths of the drug and/or for large quantities.

        c.       Multiple people, all of whom obtained similar prescriptions from the same physician

        and/or same clinic, arrive at the pharmacy at approximately the same time to have their

        prescriptions filled.

        d.       Patients are willing to pay large sums of cash (or write checks or use credit cards) for

        controlled substances, especially when the patients have insurance coverage available for the

        drugs.



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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 5 of 18 PageID #: 112
        e.       When prescriptions are part of a prescription “cocktail.” A prescription cocktail is

        usually a prescription for an opioid, such as oxycodone, combined with a prescription for a

        benzodiazepine (anti-anxiety drug) such as alprazolam (also known by its brand name, Xanax),

        and possibly a muscle relaxant, such as carisoprodol (also known by its brand name, Soma).

        Cocktail combinations are often sought by drug abusers because they produce an intensified

        “high,” but they can be particularly deadly. The combination of an opioid, benzodiazepine, and

        muscle relaxant is sometimes referred to as a “Trinity” cocktail.

        f.       Two or more controlled substance prescriptions are issued together which indicate

        duplicate therapy, for example, when a patient is issued two or more prescriptions known to treat

        the same condition in the same manner.

        19.      When confronted with one or multiple red flags concerning a prescription for controlled

substances, a pharmacist must intervene and resolve the red flags to determine whether or not the

prescription is for a legitimate purpose before filling the prescription. The pharmacist must also

document his or her findings for future use and reference.

        20.      Depending on the type of red flag, there are different steps that the pharmacist can take to

determine whether or not the prescription is for a legitimate medical purpose. These steps involve

obtaining more information from the physician, the patient, or both. For example, in situations where a

customer from out of town is attempting to fill a controlled substance prescription, a pharmacist should

seek information from the patient as to why he or she is in the area trying to fill the prescription at this

pharmacy.

        21.      When a pharmacist contacts a physician to address red flags presented by the

prescription, the standard practice is for the pharmacist to document that contact and the information the

pharmacist learns. Documentation noting the red flag and how the pharmacist handled it is required.

This ensures that the information is available for other pharmacy staff in the future. Documentation is

required even in a pharmacy with only one pharmacist because perfect recall of every encounter with

every patient is not realistic. If there is no documentation detailing how the pharmacist addressed the red

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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 6 of 18 PageID #: 113
flag, then it is fair to assume that the red flag was not resolved. For example, if a conversation with the

physician about the patient or the drug is not noted on the prescription or in the patient’s profile, then it is

safe to assume that conversation did not happen.

        22.      There are some red flags that a pharmacist cannot resolve by contacting the physician,

obtaining a CSMD report, or obtaining more information from the patient, such as those cases when the

pharmacist has reason to believe that the physician is complicit in abuse or diversion of the controlled

substance.

        23.      As a general matter, when red flags remain unresolved, a reasonable pharmacist

exercising his or her corresponding responsibility should not dispense the controlled substance

prescription.

                               Opinions Regarding Dale Hollow Pharmacy

        24.      I reviewed a significant number of prescriptions for various patients of Dale Hollow

Pharmacy that, based on my education, experience and expertise, raised significant red flags that the

pharmacists failed to resolve. The pharmacists at Dale Hollow should not have filled these prescriptions

without obtaining information that satisfactorily resolved those red flags and without documenting their

resolution. It is my professional opinion that Dale Hollow pharmacists John Polston, Larry Larkin and

William Lee Cole filled these prescription in violation of their corresponding duty and outside of usual

course of the professional practice of pharmacy.

        25.      With regard to Patient B, I reviewed the CSMD report for the time period January 20,

2015 to December 10, 2018. I also reviewed 44 copies of controlled substance prescriptions for Patient B

from Dale Hollow Pharmacy. These prescriptions were for the period of January 12, 2017 to June 15,

2018. Based on my review of this data I noticed numerous red flags that would indicate to a reasonable

practicing pharmacist the possibility that the drugs were not being used for a legitimate medical purpose.

Dale Hollow pharmacists John Polston and Larry Larkin filled controlled substance prescriptions for

Patient B on an approximately monthly basis from January 2017 until as recently as June 2018. These

pharmacists routinely filled prescriptions for 120 tablets of oxycodone 15 mg, 60 tablets of morphine 60

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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 7 of 18 PageID #: 114
mg, and 90 tablets of alprazolam 2 mg. The combination of opioids, such as oxycodone and morphine,

and benzodiazepines, such as alprazolam, is a red flag for possible abuse because it enhances the “high”

experienced by those using opioid. It is also quite dangerous because it increases the respiratory

depressant effect of opioids. These prescriptions also reflect unusually high dosage levels of opioids. In

addition, these Dale Hollow pharmacists filled prescriptions for morphine with increasing dosages up to

100 mg per tablet from July 2017 through March 2018. It should also be noted that traveled excessive

distances to obtain and fill his prescriptions. He traveled approximately 37 miles west of his home in

Cookville, Tennessee, to Carthage, Tennessee, to obtain prescriptions for morphine and oxycodone.

Patient B also traveled 80 miles southwest of his home to obtain prescriptions for alprazolam from a

different provider than the one issuing the opioid prescriptions. Patient B would then have the

prescriptions filled at Dale Hollow in Celina, Tennessee, which is approximately 36 miles north of his

home. Additionally, he had an unusually long duration of opioid therapy without an adequate explanation

or justification. The CSMD report also reflects that Patient B visited nine different prescribers and five

different pharmacies between 2015 and 2018, raising the suspicion of doctor and pharmacy shopping to

obtain his prescriptions and fill them. Based upon these facts, it is my opinion that the pharmacists could

and should have noted the long duration, excessive dose opioid therapy, the simultaneous benzodiazepine

therapy, the distances the patient traveled, the multiple prescribers and pharmacies utilized, and should

have intervened to assure a satisfactory explanation existed to verify that these prescriptions were for a

legitimate medical purpose. The record does not disclose sufficient investigation or intervention by the

pharmacists. Under these circumstances, it is my professional opinion that the conduct of the pharmacists

deviated from the accepted standards of the professional practice of pharmacy.

        26.     Dale Hollow pharmacists John Polston and Larry Larkin filled controlled substance

prescriptions for Patient H on an approximately monthly basis from at least July 2016 to November 2016,

and then again from December 2017 through at least June 2018. Beginning at least by July 2016 until

November 2016, Patient H routinely filled prescriptions for fentanyl patches 100 mcg/hr and 120 tablets

of oxycodone 10 mg at Dale Hollow. Then, beginning in December of 2017, Dale Hollow Pharmacy

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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 8 of 18 PageID #: 115
pharmacists resumed filling prescriptions for oxycodone at a significantly increased dosage and quantity.

The prescriptions from December 2017 through June of 2018 were for 150 tablets of oxycodone 30 mg.

From July 2016 through June 2018 the pharmacists also provided Patient H with clonazepam, a

benzodiazepine, on a monthly basis. Additionally, on April 20, 2018, John Polston filled a prescription

for 150 tablets of oxycodone 30 mg despite the fact that the prescription was not signed, thereby

rendering the prescription facially invalid. Based upon all of these facts, it is my opinion that pharmacists

Polston and Larkin could and should have noted the long duration, excessive-dose opioid therapy, and the

additional risk posed by the simultaneous benzodiazepine therapy; and they should have intervened to

assure a satisfactory explanation existed to verify that these prescriptions were for a legitimate medical

purpose. The record does not disclose sufficient investigation or intervention. Under these

circumstances, it is my professional opinion that the conduct of the pharmacists deviated from the

accepted standards of the professional practice of pharmacy.

        27.     Dale Hollow pharmacists John Polston, Larry Larkin, and others filled controlled

substance prescriptions for Patient I on an approximately monthly basis from July 2016 through June

2018. During this period Patient I received prescriptions for 60 tablets of oxycodone 10 mg, 60 tablets of

oxycontin 30 mg, 120 tablets of the benzodiazepine alprazolam 1 mg, 30 tablets of zolpidem (Ambien) 10

mg, and 30 tablets of phentermine 37.5 mg. It is my opinion that the pharmacists Polston and Larkin

could and should have noted red flags with these prescriptions. Patient I was receiving opioids,

benzodiazepines, and stimulants on a simultaneous basis, a potential warning sign for drug abuse. Patient

I was also receiving both oxycontin and oxycodone at the same time for over a year, raising a question as

to the legitimate need for both drugs to continue treating breakthrough pain for an extended duration.

Patient I also had prescriptions filled at four different pharmacies, indicating the possibility of pharmacy

shopping. Lastly, the only diagnosis indicated was degenerative joint disease/lumbar spine, an

insufficient diagnosis to justify the extended opioid therapy. The pharmacists should have intervened to

assure a satisfactory explanation existed to verify that these prescriptions were for a legitimate medical

purpose. The record does not disclose sufficient investigation or intervention by the pharmacists. Under

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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 9 of 18 PageID #: 116
these circumstances, it is my professional opinion that the conduct of the pharmacists Polston and Larkin

deviated from the accepted standards of the professional practice of pharmacy.

        28.      Dale Hollow pharmacists John Polston and Larry Larkin filled controlled substance

prescriptions for Patient J from at least March 22, 2017, through July 2018. These prescriptions included

the following: 10 tablets of oxycodone (Percocet) 5 mg on March 22, 2017; 90 tablets of oxycodone 10

mg on April 4, 2017; 90 tablets of oxycodone 15 mg on May 2, 2017; 90 tablets of hydrocodone 10 mg

on June 14, 2017; 90 tablets of oxycodone 10 mg on July 1, 2017; 90 tablets of oxycodone 10 mg on

August 2017; 30 tablets of oxycodone 10 mg on August 28, 2017; 18 tablets of buprenorphine (Subutex)

8 mg on September 2, 2017; 8 tablets of buprenorphine 8 mg on April 14, 2018; 30 tablets of oxycodone

5 mg on May 18, 2018; 60 tablets of oxycodone 5 mg on May 29, 2018; 40 tablets of oxycodone 7.5 mg

on June 14, 2018; and 30 tablets of oxycodone 7.5 mg on June 22, 2018. During this period the

pharmacists should have noted various red flags of abuse or diversion. First, the pharmacists at Dale

Hollow, including Polston and Larkin, should and could have noted concerns regarding the prescription

history of Patient J on the CSMD Report. That report discloses that the patient, during 2015 and 2016,

was obtaining prescriptions for oxycodone, morphine, hydrocodone, alprazolam, and the muscle relaxant

carisoprodol. The Trinity combination of opioids, benzodiazepines, and muscle relaxants present a

classic indication of abuse that is particularly dangerous. In spite of this history, the pharmacists at Dale

Hollow provided additional oxycodone and alprazolam. They also dispensed Patient J buprenorphine in

the formulation that does not contain the abuse deterrent naloxone without noting any reason why the

patient could not tolerate naloxone. Additionally, a review of the CSMD Report for Patient J would have

shown that Patient J was using a total of ten pharmacies, including both Dale Hollow and Xpress, to fill

controlled substance prescriptions from more than 20 prescribers, raising the issue of doctor and

pharmacy shopping. Moreover, the diagnoses given by the prescribers on the hard copy prescriptions

were vague and did not sufficiently justify the controlled substances that were prescribed, absent further

investigation. These diagnoses included, for example, “anxiety,” “acute low back pain,” and “chronic

pain.” These diagnoses would ordinarily not justify opioid therapy spanning over two years without

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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 10 of 18 PageID #: 117
further investigation by the pharmacists. The pharmacists should also have been troubled by the

prescribing of oxycodone following the patient’s use of buprenorphine, a drug generally used for opioid

abuse-disorder. Pharmacists Polston and Larkin should have intervened to assure a satisfactory

explanation existed to verify that these prescriptions were for a legitimate medical purpose. The record

does not disclose sufficient investigation or intervention by the pharmacists. Under these circumstances,

it is my professional opinion that the conduct of these pharmacists deviated from the accepted standards

of the professional practice of pharmacy.

        29.     Dale Hollow pharmacists John Polston, Larry Larkin, and William Lee Cole filled

controlled substance prescriptions for Patient C from July 2016 through July 2018. During this period

Patient C regularly received prescriptions for oxycodone, alprazolam and carisoprodol concomitantly.

This Trinity combination of drugs is a classic indication of possible drug abuse and a particularly

dangerous combination. An additional red flag is that the oxycodone was increasing from 10 mg to 15

mg. The pharmacists should have intervened to assure a satisfactory explanation existed to verify that

these prescriptions were for a legitimate medical purpose. The record does not disclose sufficient

investigation or intervention by the pharmacists. Under these circumstances, it is my professional opinion

that the conduct of the pharmacists deviated from the accepted standards of the professional practice of

pharmacy.

        30.     Dale Hollow pharmacists John Polston, Larry Larkin, and William Lee Cole filled

controlled substance prescriptions for Patient A from July 2016 through July 2018. A review of the

CSMD report for Patient A indicates that, since January 2015, Patient A had been receiving monthly

prescriptions for 150 tablets of methadone 10 mg, and 90 tablets of clonazepam 1 mg. Clonazepam is a

benzodiazepine. The concomitant use of opioids and benzodiazepines poses a significant risk to patients

suffering from respiratory problems. That is because opioids and benzodiazepines can both cause

respiratory depression. In fact, the package insert for clonazepam includes an FDA-required “black box”

warning addressing this very issue. In addition, the high methadone dosing for Patient A resulted in a

dangerously high opioid load. Patient A was already receiving medication typically used for respiratory

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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 11 of 18 PageID #: 118
difficulty, Spiriva, which should have further concerned the pharmacists. Given all of Patient A’s history

and drug therapy, pharmacists at Dale Hollow, including Polston and Larkin, should have intervened to

assure a satisfactory explanation existed to verify that these prescriptions were appropriate and for a

legitimate medical purpose. The record does not disclose sufficient investigation or intervention by the

pharmacists. Under these circumstances, it is my professional opinion that the conduct of the pharmacists

deviated from the accepted standards of the professional practice of pharmacy.

        31.     Dale Hollow pharmacists John Polston, Larry Larkin, and William Lee Cole filled

controlled substance prescriptions for Patient K from July 2016 through April 2018. Almost every

prescription they filled was for a controlled substance. These prescriptions included the following

monthly prescriptions: 84 tablets of extended release morphine sulfate 100 mg; 84 tablets of oxycodone

30 mg (the maximum strength available); 28 tablets of oxycodone 10 mg; 84 tablets of carisoprodol 350

mg. Additionally, starting in January 2017 and through December 2017, Dale Hollow pharmacists began

filling prescriptions for benzodiazepines. This addition completed the very dangerous Trinity

combination frequently associated with drug abuse and diversion. The opioid therapy dose dispensed to

Patient K was also dangerously high. Moreover, according to the Dale Hollow Pharmacy dispensing

report, Patient K paid over $9,000 in cash for these controlled substances during the period of July 2016

through April 2018. Patient K also traveled approximately 150 miles west of his home in Livingston,

Tennessee, to his prescriber in Clarksville, Tennessee. Given all these facts relative to Patient K, the

pharmacists at Dale Hollow, specifically including Polston and Larkin, should have intervened to assure a

satisfactory explanation existed to verify that these prescriptions were appropriate and for a legitimate

medical purpose. The record does not disclose sufficient investigation or intervention by the pharmacists.

Under these circumstances, it is my professional opinion that the conduct of pharmacists Polston and

Larkin deviated from the accepted standards of the professional practice of pharmacy.




                                                     12

    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 12 of 18 PageID #: 119
                                 Opinions Regarding Xpress Pharmacy

        32.     I reviewed a significant number of prescriptions for various patients of Xpress Pharmacy

that, based on my education, experience and expertise, raised significant red flags that the pharmacists

failed to resolve. The pharmacists at Xpress should not have filled these prescriptions without obtaining

information that satisfactorily resolved those red flags, and without documenting their resolution. It is my

professional opinion that Xpress pharmacists Michael Griffith and Larry Larkin filled these prescription

in violation of their corresponding duty and outside of usual course of the professional practice of

pharmacy.

        33.     Xpress pharmacists Michael Griffith and Larry Larkin filled controlled substance

prescriptions for Patient E from January 2015 through December 2016. These prescriptions included

monthly prescriptions of either 90 or150 tablets of alprazolam 1 mg or 0.5 mg. The prescriptions also

included monthly prescriptions of 90 tablets of hydrocodone (also known by its brand name Vicodin) 5 to

10 mg, and 30 to 90 tablets of oxycodone 5 mg (except for a six month period between December 2015

and mid-May 2016). During the two year period that the pharmacy provided prescriptions to Patient E,

every one of the prescriptions was for a controlled substance, those being opioids or benzodiazepines, a

dangerous combination drug therapy and an indication of possible drug abuse or diversion. The

pharmacists should have intervened and documented legitimate explanations for two years of continuous

opioid and benzodiazepine therapy. Given these facts relative to Patient E, pharmacists Griffith and

Larkin should have intervened to assure a satisfactory explanation existed to verify that these

prescriptions were appropriate and for a legitimate medical purpose. The record does not disclose

sufficient investigation or intervention by Griffith or Larkin. Under these circumstances, it is my

professional opinion that the conduct of pharmacists Griffith and Larkin deviated from the accepted

standards of the professional practice of pharmacy. In this case, this 46 year-old patient met a tragic

death, with the immediate cause of death being listed by the Tennessee Department of Health as “acute

combined drug toxicity (alprazolam, oxycodone).” These are the very drugs the pharmacy was

dispensing to Patient E. The pharmacy provided 90 tablets of oxycodone 5 mg on November 22, 2016,

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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 13 of 18 PageID #: 120
and 90 tablets of alprazolam 1 mg on December 3, 2016, just six days before Patient E’s death on

December 9, 2016.

        34.     Xpress pharmacists Michael Griffith and Larry Larkin filled controlled substance

prescriptions for Patient F from March 2016 through February 2017. These prescriptions included

numerous controlled substance prescriptions including oxycodone between 7.5 and 20 mg tablets,

alprazolam 1 mg tablets, carisoprodol 350 mg tablets, and zolpidem (Ambien) 10 mg tablets. Patient F

was also receiving gabapentin (Neurontin) 400 mg capsules. Gabapentin is not currently listed as a

federally controlled substance but is now listed as a controlled substance under Tennessee law. Patient F

was being treated by seven different prescribers, heightening the need for the pharmacists to be alert to

potential contraindicated drug therapy in addition to the risk of abuse or diversion. Additionally, the

pharmacists should have noted the dangerous drug cocktail of an opioid, benzodiazepine, and muscle

relaxant (together, the Trinity), with the addition in this case of a sedative/hypnotic (Ambien) and

gabapentin. These additional drugs further increase the risk of harm to the patient. Given all these facts

relative to Patient F, pharmacists Griffith and Larkin should have intervened to assure a satisfactory

explanation existed to verify that these prescriptions were appropriate and for a legitimate medical

purpose. The record does not disclose sufficient investigation or intervention by Griffith or Larkin.

Under these circumstances, it is my professional opinion that the conduct of these pharmacists deviated

from the accepted standards of the professional practice of pharmacy. Tragically, Patient F died on

February 16, 2017, two weeks after receiving oxycodone and carisoprodol and six days after receiving

gabapentin, all from pharmacist Michael Griffith at Xpress.

        35.     Xpress pharmacists Michael Griffith, Larry Larkin, and occasionally others, filled

controlled substance prescriptions for Patient D from January 2015 through August 2018. I have been

advised that Patient D is a minority owner of Xpress and a pharmacy technician there. Patient D’s

prescriptions included: 120 tablets of Endocet 10 mg, the brand name for oxycodone, prescriptions for

between 30 and 120 tablets of oxycodone 5 mg (the generic product), six ounce bottles of hydrocodone

syrup, 60 tablets of clonazepam 0.5 mg, between 30 and 90 tablets of carisoprodol 350 mg, 60 tablets of

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    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 14 of 18 PageID #: 121
amphetamine 10 mg (in April 2015 and September 2015) and 30 tablets of phentermine 37.5 mg (in

February 2017). The prescriptions for Patient D should have alerted the pharmacists at Xpress that the

patient was receiving opioids, benzodiazepines, and muscle relaxants, the dangerous Trinity combination,

in addition to several prescriptions for stimulants. Additionally, Patient D appears to have requested the

brand name Endocet for the 10 mg oxycodone despite its significantly higher expense, yet was satisfied

with the generic version of oxycodone in the 5 mg dose. This raises a red flag because the brand name

version Endocet is known to command a higher street demand and value than the generic product,

especially for the higher dose version of the drug. Moreover, Patient D always paid cash for the Endocet

although it appeared that Patient D had prescription drug insurance coverage. It is also of unique interest

that Patient O, who lives at the same address as Patient D and appears to be Patient D’s husband, is also

receiving prescriptions for Endocet 10 mg tablets (from September 2015 through July 2018). Each of

these prescriptions was for 120 tablets, and Patient O, just like his wife, also received the brand name

product without any explanation of why the generic would not be satisfactory. Similarly, Patient P, who

also lives as the same address as Patient D and appears to be Patient D’s son, was also receiving monthly

prescriptions of Endocet 10 mg (from December 2016 through September 2017) with quantities from 56

to 150 tablets. Again there was no explanation for why the generic version of the drug would not be

acceptable. Patient P also received prescriptions for 180 capsules of gabapentin in doses ranging from

100 to 400 mg (from December 2016 through April 2018). Given these facts relative to Patients D, O,

and P, apparent family members, Michael Griffith and Larry Larkin should have intervened to assure a

satisfactory explanation existed to verify that their prescriptions were appropriate and for a legitimate

medical purpose. Likewise, these pharmacists apparently failed to justify the patients’ insistence on brand

name Endocet when the generic was permitted and available. The record does not disclose sufficient

investigation or intervention by the pharmacists. Under these circumstances, it is my professional opinion

that the conduct of pharmacists Griffith and Larkin deviated from the accepted standards of the

professional practice of pharmacy.



                                                     15

    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 15 of 18 PageID #: 122
        36.      Xpress pharmacists Michael Griffith and Larry Larkin filled controlled substance

prescriptions for Patients L and M who share the same address and appear to be related, from

approximately February 2016 through May 2018. Both patients initially received prescriptions for 90

tablets of oxycodone 30 mg, and both patients continued to receive oxycodone on a monthly basis

through July 2018. Patient L was receiving 30 mg oxycodone during the entire period, while Patient M

began receiving 20 mg tablets but with an increased quantity of 120 tablets per month beginning in May

2016. Both patients displayed an alarmingly similar pattern when they received monthly prescriptions for

morphine. With disturbing regularity, the patients received these prescriptions from the same doctors and

had them filled by Griffith and Larkin at Xpress on the same dates. The only differences in the patients’

therapies was that Patient L received almost exclusively 60 mg morphine tablets while Patient M received

15 mg and 30 mg morphine tablets. It is highly suspect for two members of the same household,

separated in age by 26 years, to legitimately require almost indistinguishable, high-potency opioid drug

therapy. Exacerbating this situation is the fact that each patient used the same four prescribers to obtain

all of these identical drugs. Additional red flags should have been noted by Griffith and Larkin, such as

the extensive distances driven by the patients, particularly since the only prescriptions these patients filled

at Clay County Xpress were Schedule II opioids. Even using the most efficient routing, these patients

chose to drive at least 202 miles to obtain and fill these prescriptions. Moreover, the pharmacists should

have been aware of the unusually high opioid doses both patients were receiving because they themselves

filled the prescriptions. The final red flag that should have been noted is that Patient M paid for all of his

opioid prescriptions in cash during the period January 2016 through July 2018, paying over $8,000 for

these drugs. Given all these facts relative to Patients M and L, pharmacists Griffith and Larkin should

have intervened to assure a satisfactory explanation existed to verify that these prescriptions were

appropriate and for a legitimate medical purpose. The record does not disclose sufficient investigation or

intervention by these pharmacists. Under these circumstances, it is my professional opinion that the

conduct of Michael Griffith and Larry Larkin deviated from the accepted standards of the professional

practice of pharmacy.

                                                      16

    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 16 of 18 PageID #: 123
        37.     Xpress pharmacists Michael Griffith and Larry Larkin filled controlled substance

prescriptions for Patient N from August 2016 through August 2017. These prescriptions included

hydrocodone (in strengths ranging from 5 mg to 10 mg and quantities ranging from 15 to 120 tablets),

oxycodone (in strengths of 5 mg and 10 mg and quantities ranging from 20 to 120 tablets), and Suboxone

(in strengths ranging from 8/2 mg to 4.2./0.7 mg and quantities ranging from 3 to 14 tablets).

Significantly, Patient N was only on Suboxone therapy for a two-month period, and then inexplicably was

prescribed more oxycodone. Patient N was also prescribed the sedative/hypnotic zolpidem (Ambien) 10

mg from August 2016 through September 2017 in quantities ranging from 14 to 30 tablets. Additionally,

the pharmacists should have noted that this patient had nine different doctors in a single year prescribing

her opioids . Given all these facts relative to Patient N, pharmacists Griffith and Larkin should have

intervened to assure a satisfactory explanation existed to verify that these prescriptions were appropriate

and for a legitimate medical purpose. The record does not disclose sufficient investigation or intervention

by these pharmacists. Under these circumstances, it is my professional opinion that the conduct of

Michael Griffith and Larry Larkin deviated from the accepted standards of the professional practice of

pharmacy.

        38.     Xpress pharmacists Michael Griffith and Larry Larkin filled controlled substance

prescriptions for Patient G from November 2015 through August 2018. These prescriptions included

monthly prescriptions of oxycodone 10 mg (in quantities ranging from 40 to predominantly 120 tablets),

morphine 15 mg tablets, and the benzodiazepine alprazolam 2 mg, which is the highest dose available for

this drug. Patient G received prescriptions for oxycodone from eight different prescribers during this

period; she received prescriptions for morphine from four different prescribers during this period; and she

received prescriptions for alprazolam from four different prescribers. These facts raise a concern about

the overlapping use of two powerful opioids, a concern about the dangerous combination of opioids and a

benzodiazepine, and doctor shopping. Given these facts relative to Patient G, pharmacists Griffith and

Larkin should have intervened to assure a satisfactory explanation existed to verify that these

prescriptions were appropriate and for a legitimate

                                                      17

    Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 17 of 18 PageID #: 124
Case 2:19-cv-00009 Document 7 Filed 02/07/19 Page 18 of 18 PageID #: 125
